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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


    Mahmoud KHALIL,

                   Petitioner,
                                                                 Case No. 25-cv-01935
    v.

    Donald J. TRUMP, in his official capacity as
    President of the United States; William P. JOYCE,            ORAL ARGUMENT REQUESTED
    in his official capacity as Acting Field Office
    Director of New York, Immigration and Customs
    Enforcement; Caleb VITELLO, Acting Director,
    U.S. Immigration and Customs Enforcement; Kristi
    NOEM, in her official capacity as Secretary of the
    United States Department of Homeland Security;
    Marco RUBIO, in his official capacity as Secretary of
    State; and Pamela BONDI, in her official capacity
    as Attorney General, U.S. Department of Justice,

                   Respondents.




                PETITIONER’S MEMORANDUM OF LAW IN SUPPORT OF
                  MOTION FOR PRELIMINARY INJUNCTIVE RELIEF

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                                         INTRODUCTION

        Petitioner Mahmoud Khalil seeks preliminary relief to halt an extraordinary and

 unprecedented assault on his constitutionally protected freedom of speech—namely, his

 expressive activity in support of Palestinian human rights, his criticism of Israel and its military

 actions in Gaza, and his opposition to U.S. support of those actions. Mr. Khalil is a beloved

 husband, soon-to-be father, recent graduate student, and Palestinian rights activist. In retaliation

 for his speech on a matter of urgent public concern, Respondents have detained him, silenced him,

 transferred him more than a thousand miles from his family, and are seeking to deport him.

        Respondents have done so pursuant to a policy to arrest, detain, and seek the removal of

 noncitizens who engage in protected expressive activity in support of Palestinian rights or critical

 of Israel, including by making a determination that their presence in the United States would have

 “serious adverse foreign policy consequences.” The scope of this policy is breathtaking: President

 Donald Trump and Secretary of State Marco Rubio could apply it to any pro-Palestine speech by

 any noncitizen. And the policy provides no notice as to what specific statements might subject

 noncitizens to this unprecedented determination. Respondents’ actions have an immediate and

 palpable chilling effect on political debate on a topic of ongoing international concern. Many

 noncitizens across the country—including lawful permanent residents like Mr. Khalil—now live

 in fear that they will be next if their actual or imputed speech brings them into the crosshairs of

 this administration, and many are choosing to stay silent going forward.

        In this motion, Mr. Khalil moves for preliminary relief on his First Amendment and due

 process claims. Each of the preliminary injunction factors weighs strongly in Mr. Khalil’s favor.

 First, he is likely to succeed on the merits of these claims because the policy and determination are

 retaliatory, viewpoint discriminatory, and void for vagueness, and his detention is unjustified.



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 Second, without preliminary relief Mr. Khalil is suffering numerous irreparable harms including

 the loss of his freedom, the possible loss of his right to remain in this country, a profound silencing

 of his deeply held beliefs, disruption in his medical care, loss of future employment, separation

 from his U.S. citizen wife, and the prospect of missing the birth of his first child. And finally, on

 the equities, unless this Court enjoins the government’s unlawful and retaliatory policy and

 determination, this harm—and the suppression of disfavored speech—will continue to grow for

 Mr. Khalil and others subject to the policy during the pendency of this action.

         For all these reasons, the Court should issue an order releasing Mr. Khalil, vacating

 Respondent Rubio’s determination that the INA’s “Foreign Policy Ground” applies to him, and

 enjoining Respondents from enforcing their unlawful policy for the pendency of this proceeding.

                                                BACKGROUND

         A summary of the facts most relevant to this motion is below.1

         Mr. Khalil engages in protected speech. Mr. Khalil is a Palestinian, a recent Columbia

 graduate student living with his wife—a United States citizen expecting the couple’s first child

 next month—and a Lawful Permanent Resident. Declaration of Noor Ramez Abdalla (“Abdalla

 Decl.”), ECF 59, at ¶¶ 4–11. Mr. Khalil is committed to peaceful protest. He has been an outspoken

 advocate for Palestinian human rights, and he has called Israel’s actions in Gaza a genocide and

 characterized the United States as financing and facilitating such violence. See id. ¶ 22. Mr.

 Khalil’s prominence as a leading student activist, along with Columbia University’s position as a

 national focal point of student protests, have propelled him into the public eye. He’s spoken with

 national and international news media regarding international law, the obligations the U.S. and


 1
  A more fulsome treatment of the facts in this case is in the amended petition, ECF 38, and the memoranda in support
 of the Motion for Release(Mar. 14, 2025), ECF 53, and Opposition to the Government’s Motion to Dismiss or Transfer
 (Mar. 14, 2025), ECF 50. Mr. Khalil has verified that the facts of his amended petition are true. See Declaration of
 Veronica Salama (Mar. 14, 2025), ECF 50-1.

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 Columbia have under that law, and the human rights of Palestinian people. Id. ¶¶ 26–27.

            The Respondents retaliate against Mr. Khalil’s protected speech pursuant to the

 Policy. In response to the speech of Mr. Khalil and others who share his views, the government

 announced a policy (the “Policy”) to arrest, detain, and seek to remove noncitizens who engage in

 expressive activities in the United States supporting Palestinian rights. See id. ¶¶ 29–44. Most

 notably, the Trump Administration has clearly stated that it is targeting constitutionally protected

 speech, not unlawful conduct, in an effort to suppress one side of an ongoing political debate. For

 example, President Trump posted that Mr. Khalil’s arrest was “the first arrest of many to come,”

 declaring the Administration would not tolerate “students at Columbia and other universities . . .

 who have engaged in pro-terrorist, anti-Semitic, anti-American activity,” while promising to “find,

 apprehend, and deport these terrorist sympathizers from our country.” Id. ¶ 73.2 And Secretary of

 State Rubio has stated, “We will be revoking the visas and/or green cards of Hamas supporters in

 America so they can be deported.” Id. ¶ 75.3

            Pursuant to the Policy, on March 8, 2025, Respondents arrested Mr. Khalil, took him into

 Immigration and Customs Enforcement (“ICE”) custody, and notified him that “the Secretary of

 State has determined that your presence or activities in the United States would have serious

 adverse foreign policy consequences for the United States,” in a document citing Section

 237(a)(4)(C)(i) of the Immigration and Nationality Act (the “Foreign Policy Ground”), and further

 stating “the Secretary of State has reasonable ground to believe that your presence or activities in

 the United States would have potentially serious adverse foreign policy consequences for the




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     Also available at https://perma.cc/BML5-GR84.
 3
     Also available at https://perma.cc/PJ2C-FHFD.

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 United States.” Am. Pet. ¶¶ 81–82.4 For Mr. Khalil, the events of the night of the arrest were swift,

 terrifying, and unusual. He recalls an ICE agent saying within earshot that “the White House [wa]s

 requesting an update” on him. Id. ¶ 58; see also id. ¶¶ 45–72.

          Secretary Rubio’s determination (the “Rubio Determination”) was specifically motivated

 by Mr. Khalil’s constitutionally protected speech. Indeed, on March 10, the Department of

 Homeland Security (“DHS”) posted an official statement on social media stating ICE carried out

 Mr. Khalil’s arrest “in support of President Trump’s executive orders prohibiting anti-Semitism,

 and in coordination with the Department of State,” Id. ¶ 76,5 and the White House Press Secretary

 asserted his arrest was for “siding with terrorists,” id. ¶79.6 Even if such allegations were true—

 and they are not7—these statements evince the purpose behind Mr. Khalil’s detention: to punish

 him for his perceived political viewpoints. And as discussed further below, regardless of how the

 government might characterize Mr. Khalil’s expression, it is protected by the First Amendment.

          The Policy’s future application has been clearly outlined. On March 10, a White House

 official confirmed that the federal government’s basis for arresting Mr. Khalil was a “blueprint”




 4
   Notably, this statute states that a noncitizen may not be removed “because of [the individual’s] past, current, or
 expected beliefs, statements, or associations, if such beliefs, statements, or associations would be lawful within the
 United States.” 8 U.S.C. § 1182(a)(3)(C)(iii). While the Secretary of State can overcome the prohibition on speech-
 based removals if he “personally determines that the alien’s [presence] would compromise a compelling United States
 foreign policy interest,” id., in enacting this ground for removal Congress made clear that, consistent with the
 requirements of the First Amendment and Due Process, it did not and could not grant the executive branch authority
 to deport noncitizens for protected political speech disfavored by the government. To the contrary, Congress explained
 its motivation as preventing such speech suppression: “For many years, the United States has embarrassed itself by
 excluding prominent foreigners from visiting the United States solely because of their political beliefs.” S. Rep. No.
 100–75 at 11, 100th Cong., 1st Sess. (1987). Therefore, in the parallel provision regarding admissibility, Congress
 amended the INA “to take away the executive branch’s authority to deny visas to foreigners solely because of the
 foreigner's political beliefs or because of his anticipated speech in the United States.” Id. See also H.R. Conf. Rep. No.
 101-955, 101st Cong., 2nd Sess. (1990) (the exception is to be interpreted “as a significantly higher standard than the
 general potential for serious adverse foreign policy consequences,” is meant to “be used only in unusual circumstances,”
 and should be invoked “sparingly and not merely because there is a likelihood that an alien will make critical remarks
 about the United States or its policies”).
 5
   Also available at: https://perma.cc/2BYW-9G84.
 6
   Also available at: https://perma.cc/565D-2K5G (timestamp 10:16).
 7
   See generally ECF56-6 (Mahmoud Khalil support letters).

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 for investigating other students. Id. ¶ 77. And on March 13, when asked to justify the government’s

 actions, Troy Edgar, the Deputy Secretary of DHS, did not dispute that Mr. Khalil had not broken

 any laws and instead asserted that Mr. Khalil was “put[ting] himself in the middle of the process

 of basically pro-Palestinian activity.” Id. ¶ 81. When asked if “any criticism of the Israeli

 government,” “any criticism of the United States,” “any criticism of the government” or

 “protesting” are deportable offenses, Deputy Secretary Edgar did not provide a direct answer.

 Instead, Edgar stated that if, when Mr. Khalil applied for a student visa, he had admitted an

 intention to “go and protest,” “we would have never let him into the country.” Id.8 On March 16,

 Secretary Rubio reiterated that the government targeted Mr. Khalil, and will continue to target

 other students, for participating in “pro-Hamas events.” 9 Indeed, pursuant to the Policy, the

 Administration appears to be targeting noncitizen students for deportation simply for “liking or

 sharing posts that highlighted ‘human rights violations’ in the war in Gaza,” signing “open letters

 related to the war,” and “call[ing] for ‘Palestinian liberation.’”10

         Without injunctive relief, Mr. Khalil remains detained, his speech chilled, and

 experiencing multiple irreparable harms. As described more fully below, see infra Section II,

 Mr. Khalil is currently in ICE custody in Louisiana, more than 1,000 miles from his eight-months-

 pregnant wife, terrified for her well-being without him as she faces an onslaught of harassment

 and national attention caused by the Rubio Determination. See Am. Pet. ¶¶ 73–81; Abdalla Decl.

 ¶¶ 28–29. He cannot engage in the protected speech for which he was targeted; his immigration

 status is at risk; and his liberty has been taken away unlawfully. See also generally Mem. in



 8
   Also available at: https://perma.cc/6YZD-NK3Q.
 9
   Salama Decl. Ex. A, Amanda Friedman, Rubio Defends Detainment of Columbia Activist, Says More Arrests Will
 Come, Politico (Mar. 16, 2025), also available at https://perma.cc/U3DR-KCPL.
 10
    Salama Decl. Ex. B, Luis Ferré-Sadurní & Hamed Aleaziz , How a Columbia Student Fled to Canada After ICE
 Came Looking for Her, N.Y. Times (Mar. 15, 2025), also available at https://perma.cc/3YH3-5U5K.

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 Support of Mot. for Release, ECF 53. For all these reasons, he now moves for preliminary relief.

                                            ARGUMENT

        Petitioner seeks preliminary relief that, for the pendency of this litigation: (1) orders his

 release; (2) vacates the Rubio Determination as to him; and (3) enjoins Respondents from

 enforcing their Policy of arresting, detaining, and removing noncitizens who engage in speech in

 the United States supporting Palestinian rights or critical of Israel.

        To obtain relief, the party seeking a preliminary injunction “must ordinarily establish (1)

 irreparable harm; (2) either (a) a likelihood of success on the merits, or (b) sufficiently serious

 questions going to the merits of its claims to make them fair ground for litigation, plus a balance

 of the hardships tipping decidedly in favor of the moving party; and (3) that a preliminary

 injunction is in the public interest.” New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638,

 650 (2d Cir. 2015) (internal quotation marks omitted). “Because the deprivation of First

 Amendment rights is an irreparable harm, in First Amendment cases ‘the likelihood of success on

 the merits is the dominant, if not the dispositive, factor.’” Agudath Israel of America v. Cuomo,

 983 F.3d 620, 637 (2d Cir. 2020) (quoting N.Y. Progress & Prot. PAC v. Walsh, 733 F.3d 483,

 488 (2d Cir. 2013)).

 I. PETITIONER IS LIKELY TO SUCCEED ON THE MERITS.

  A. The Rubio Determination and the Policy are retaliatory, viewpoint discriminatory, and
     void for vagueness.

    1. The Rubio Determination is retaliatory in violation of the First Amendment.

        To succeed on his First Amendment retaliation claim, Mr. Khalil must show that: “(1) he

 has a right protected by the First Amendment; (2) the defendant’s actions were motivated or

 substantially caused by [the plaintiff’s] exercise of that right; and (3) the defendant’s actions

 caused [the plaintiff] some injury.” Smith v. Campbell, 782 F.3d 93, 100 (2d Cir. 2015) (quoting

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 Dorsett v. Cty. of Nassau, 732 F.3d 157, 160 (2d Cir. 2013)). Mr. Khalil is likely to demonstrate

 each of those elements here.

        First, Mr. Khalil’s expression lies at the core of what the First Amendment protects. Speech

 on matters of “public concern is at the heart of the First Amendment[]” and is entitled to “special

 protection.” Snyder v. Phelps, 562 U.S. 443, 451–52 (2011). Similarly, “[s]peech critical of the

 exercise of the State’s power lies at the very center of the First Amendment.” Gentile v. State Bar

 of Nev., 501 U.S. 1030, 1034 (1991).

        Here, Mr. Khalil’s speech advocating for Palestinian rights plainly relates to a matter of

 grave and widespread “public concern” in the United States. See supra p. 2-3. In addition, Mr.

 Khalil’s expressive activities are openly critical of the devastating human toll from Israel’s military

 assault on Gaza and the U.S. support for Israel’s actions. See id. Because this “speech concerns

 ‘political change,’ it is also ‘core political speech’ and thus ‘trenches upon an area in which the

 importance of First Amendment protections is at its zenith.’” Ragbir v. Homan, 923 F.3d 53, 70

 (2d Cir. 2019) (emphasis in original) (quoting Meyer v. Grant, 486 U.S. 414, 421–22, 425, (1988)),

 cert. granted, judgment vacated on other grounds sub nom. Pham v. Ragbir, 141 S. Ct. 227 (2020).

        That Mr. Khalil is not a citizen does not change this analysis. As the Second Circuit held

 in Ragbir, the speech of a noncitizen on an issue central to “current political debate among

 American citizens and other residents” lies “‘at the heart of First Amendment protection’ and

 ‘occupies the highest rung of the hierarchy of First Amendment values.’” 923 F.3d at 69–70

 (cleaned up and quoting Snyder, 562 U.S. at 451–52). “Freedom of speech and press is accorded

 aliens residing in this country.” Bridges v. Wixon, 326 U.S. 135, 148 (1945). See also, e.g.,

 Parcham v. INS, 769 F.2d 1001, 1004 (4th Cir. 1985) (“It has long been held that aliens residing




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 in this country enjoy the protection of the First Amendment,” including “the right to peaceful

 expression of views through public demonstration.”).

        Indeed, Bridges v. Wixon is instructive. In that case, an immigrant from Australia was

 placed in proceedings on the basis of being in “sympathy” with, “affiliated with,” or distributing

 “printed matter” on a subject disfavored by the government—advancing the goals of Communists.

 326 U.S. at 137–138, 142. The Supreme Court declined to apply a predecessor immigration statute

 in a way that would run up against First Amendment limits. See id. at 148.

        As for the second factor, the public statements of government officials confirm that the

 Rubio Determination was at least “substantially caused by,” and likely entirely “motivated by,”

 Smith, 782 F.3d at 100, their disagreement with his protected speech. “It is a fundamental principle

 of the First Amendment that the government may not punish or suppress speech based on

 disapproval of the ideas or perspectives the speech conveys.” Matal v. Tam, 582 U.S. 218, 248

 (2017) (Kennedy, J., concurring in part) (citing Rosenberger v. Rector & Visitors of Univ. of Va.,

 515 U.S. 819, 828–30 (1995)). “Such discrimination based on viewpoint is an egregious form of

 content discrimination, which is presumptively unconstitutional.” Id. (cleaned up).

        Here, the Administration has clearly stated that it is targeting Mr. Khalil’s constitutionally

 protected speech, not unlawful conduct. The government has argued that Mr. Khalil’s presence

 undercuts U.S. foreign policy interests because, in the government’s view, he is a “Hamas

 sympathizer” and has uttered “pro-Hamas” speech, and “participated in pro-jihadist protests.” See

 Am. Pet. ¶¶ 31, 36, 73. Then-Senator Marco Rubio first publicly suggested what would become

 the challenged Policy on October 15, 2023. He characterized individuals “marching at universities,

 and in the streets of our country… calling for intifada, celebrating what Hamas has done, justifying

 what Hamas has done” as “supporters of Hamas” and argued that those on visas “need to go.” Id.



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 ¶ 33 n.6. 11 And the President himself made clear in public statements and through multiple

 Executive Orders that he intended to weaponize the country’s immigration laws against

 noncitizens who participated in pro-Palestine campus protests. Id. ¶¶ 34–36.12

          Mr. Khalil, who was at times the public face of the protests at Columbia as a lead student

 negotiator, Id. at ¶ 24, was an obvious target. And the record here confirms that Mr. Khalil’s

 “public expression” of his support for Palestinian rights, “and its prominence, played a significant

 role” in the government’s decision to target him for removal. Ragbir, 923 F.3d at 1. Secretary

 Rubio met with activists critical of Mr. Khalil’s speech, and who specifically sought Mr. Khalil’s

 deportation, just days before he issued his Determination. Id. at ¶ 42.13 And after issuing the Rubio

 Determination, Secretary Rubio, high-level government officials, and the President himself

 repeatedly confirmed that they had taken this action against Mr. Khalil specifically because of his

 protected speech advocating for Palestinian rights and pursuant to a policy of targeting that speech.

 Id. at ¶ 73 (stating “the Trump administration will not tolerate” what he characterized as Mr.

 Khalil’s “anti-American” activities); ¶¶ 74–80 (“if you tell us . . . I intend to come to your country

 as a student, and rile up all kinds of anti-Jewish . . . anti-Semitic activities,” and “if you end up

 having a green card . . . we’re going to kick you out.”)14; ¶ 81.

          The government’s statement also made clear that it had targeted Mr. Khalil as part of a

 broader policy of weaponizing immigration law to suppress protected pro-Palestine speech. After



 11
    Also available at: https://perma.cc/L3MD-L5XL.
 12
    Also available at https://perma.cc/2BYW-9G84. These executive orders adopted a definition of antisemitism that
 includes plainly protected criticism of Israel and its policies. See Exec. Order 13899, Combating Anti-Semitism, 84
 Fed. Reg. 68779 (Dec. 11, 2019) (including as an example of antisemitism “drawing comparisons of contemporary
 Israeli policy to that of the Nazis”); Exec. Order 14188, Additional Measures to Combat Anti-Semitism, 90 Fed. Reg.
 8847 (Jan. 29, 2025). A district court has found that public universities’ incorporation of this specific definition of
 antisemitism in its speech policies constitutes impermissible viewpoint discrimination in violation of First Amendment.
 Students for Just. in Palestine, at Univ. of Houston v. Abbott, 2024 WL 4631301, at *10 (W.D. Tex. Oct. 28, 2024).
 13
    Also available at: https://perma.cc/Q7DK-L6U7.
 14
    Also available athttps://perma.cc/3Q5E-WB6C.

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 President Trump posted that Mr. Khalil’s arrest was “the first of many to come,” Am. Pet. ¶ 73,15

 Deputy Secretary of DHS Edgar expanded on the president’s promise, indicating the government

 will not grant visas of pro-Palestine noncitizen students who intend to “go and protest.” 16

            Finally, with respect to the third factor in the retaliation analysis, the Rubio Determination

 has caused, and continues to cause, Mr. Khalil harm in multiple ways. As an initial matter, it places

 Mr. Khalil’s immigration status at risk, subjecting him to the possible loss of his ability to remain

 a lawful permanent resident and to removal. The Supreme Court has “long recognized” that

 deportation is “a particularly severe penalty” for lawful permanent residents. Padilla v. Kentucky,

 559 U.S. 356, 365–66 (2010) (citing Fong Yue Ting v. United States, 149 U.S. 698, 740 (1893)).

 And several courts, including the Second Circuit, have held specifically that the First Amendment

 protects noncitizens who are detained and threatened with deportation as a result of their protected

 speech. See, e.g., Ragbir, 923 F.3d 53 at 71–72; see also, e.g., Bello-Reyes v. Gaynor, 985 F.3d

 696, 698 (9th Cir. 2021); Gutierrez-Soto v. Sessions, 317 F. Supp. 3d 917, 921 (W.D. Tex. 2018).

            Furthermore, the Rubio Determination, and the resulting threat of deportation, has a

 chilling effect on Mr. Khalil’s speech—and that of many others. The First Amendment was

 designed “to assure unfettered interchange of ideas for the bringing about of political and social

 changes desired by the people.” Roth v. United States, 354 U.S. 476, 484 (1957). It reflects a

 “profound national commitment to the principle that debate on public issues”—including

 international law and human rights—“should be uninhibited, robust, and wide-open[.]” N.Y. Times

 v. Sullivan, 376 U.S. 254, 270 (1964). Now, every noncitizen must wonder whether they will face

 retaliation for engaging in speech on issues of public concern or critical of the U.S. government—

 and given the government’s willingness to misrepresent and caricature Mr. Khalil’s views, must


 15
      Also available at https://perma.cc/BML5-GR84.
 16
      Salama Decl. Ex. C, also available at https://perma.cc/N6QY-4PWF.

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 worry that even the most innocuous statements can endanger their presence in the United States if

 they are in tension with powerful officials’ strongly-held personal opinions. See Ragbir, 923 F.3d

 at 71 (“[T]o allow this retaliatory conduct to proceed would broadly chill protected speech, among

 not only [noncitizen] activists . . . but also . . . citizens and other residents.”). If the Rubio

 Determination has its intended effect, it will prevent Mr. Khalil—and many others—from speaking

 in this country at all.

         Additionally, the Rubio Determination has irretrievably damaged Mr. Khalil’s reputation

 by baselessly identifying him as a threat to the foreign policy of the United States, marking him

 and his family as a target for harassment and notoriety. See Am. Pet. ¶¶ 73–81; Abdalla Decl.

 ¶¶ 28–29 (Mr. Khalil’s 8-months-pregnant wife describing harassment directed at Mr. Khalil, her,

 and their extended family since the detention). The Supreme Court has criticized designations like

 the Rubio Determination, noting that such “condemnations and blacklists” should not be wielded

 “as a substitute for . . . legal types of penalties by courts following trial and conviction,” Joint Anti-

 Fascist Refugee Committee v. McGrath, 341 U.S. 123, 145 (1951) (Black, J., concurring), and

 condemning as “devoid of fundamental fairness” similar designations of “subversive”

 organizations and individuals, id. at 161 (Frankfurter, J., concurring).

         Finally, the Rubio Determination is also the government’s justification for Mr. Khalil’s

 arrest and detention, which are themselves bases for severe ongoing harm. See infra Section I.B.

     2. Respondents’ Policy constitutes an unconstitutional, viewpoint-based restriction.

         Mr. Khalil is also likely to prevail on his independent—but related—claim that

 Respondents’ Policy of targeting noncitizens for removal on the Foreign Policy Ground based on

 First Amendment protected speech advocating for Palestinian rights constitutes an unconstitutional

 viewpoint-based restriction on speech. To the extent that the government argues that the Rubio



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 Determination stems from the Policy, that does not excuse the government’s retaliation against

 Petitioner. It only emphasizes the extent to which the Policy itself violates the First Amendment.

         As already discussed, see supra Section I.A.1, the government has announced its intention

 to engage in a viewpoint discriminatory scheme to arrest, detain, and seek to remove noncitizens

 who engage in constitutionally protected speech in the United States. While there has been intense

 political debate and protest on all sides regarding Israel’s military actions in Gaza and their

 devastating human toll, the Administration is targeting only pro-Palestine speech for punishment.

 Mr. Khalil’s arrest is a part of that scheme and intended to punish him for his past speech

 advocating for Palestinian rights, to silence his speech right now, and to suppress his future speech

 expressing the same views.

         Respondents’ Policy is textbook viewpoint discrimination. It “targets not subject matter,

 but particular views taken by speakers on a subject,” Rosenberger, 515 U.S. at 829, and it does so

 “because of ‘the specific motivating ideology or the opinion or perspective of the

 speaker.’” Wandering Dago, Inc. v. Destito, 879 F.3d 20, 31 (2d Cir. 2018) (quoting Rosenberger,

 515 U.S. at 829). Such discrimination “is presumed to be unconstitutional.’” Id. (quoting

 Rosenberger, 515 U.S. at 828). The government does not get to pick and choose which sides of an

 issue will be allowed a public hearing, and which will be punished or suppressed.

         As discussed above, the fact that the Policy targets noncitizens does not immunize it from

 First Amendment challenge, because the First Amendment protects noncitizens against retaliatory

 detention and removal. See Ragbir, 923 F.3d at 69–70. “If there is any fixed star in our

 constitutional constellation, it is that no official, high or petty, can prescribe what shall be orthodox

 in politics . . . or other matters of opinion.” Janus v. Am. Fed'n of State, Cty., & Mun. Emps.,

 Council 31, 585 U.S. 878, 892 (2018) (quoting West Va. Bd. of Educ. v. Barnette, 319 U.S. 624,



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 642 (1943)). That principle applies with full force to government attempts to punish noncitizens

 in the country for their protected expression. The First Amendment freedoms of speech and press

 do not “acknowledge[] any distinction between citizens and resident aliens. They extend their

 inalienable privileges to all ‘persons’ and guard against any encroachment on those rights by

 federal or state authority.” Bridges, 326 U.S. at 161 (Murphy, J., concurring).

          Nor does the Administration’s assertion of foreign policy concerns justify its explicitly

 viewpoint discriminatory scheme to punish and chill pro-Palestine speech throughout the country.

 See Am.-Arab Anti-Discrimination Comm. v. Reno, 70 F.3d 1045, 1056 (9th Cir. 1995) (rejecting

 the proposition that the government’s invocation of foreign policy deprives the courts of their

 “essential function in ensuring that aliens are not targeted by the INS in retaliation for exercising

 their acknowledged constitutional rights”).17 See also Holder v. Humanitarian Law Project, 561

 U.S. 1, 34 (2010) (“Our precedents, old and new, make clear that concerns of national security and

 foreign relations do not warrant abdication of the judicial role. We do not defer to the

 Government’s reading of the First Amendment, even when such interests are at stake.”). If the

 government could justify the overt suppression of disfavored views with the magic words “foreign

 policy,” a category that can be stretched to cover almost any issue of national (let alone

 international) concern, then noncitizens would be free to express only their enthusiastic support


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    On appeal, the Supreme Court ultimately held in that 8 U.S.C. 1252(g) barred jurisdiction over the plaintiffs’
 selective prosecution claims. 525 U.S. 471 (1999). Section 1252(g) does not apply to Petitioner’s claim for injunctive
 relief against the Policy or the Rubio Determination because he does not seek to enjoin any “decision or action by the
 Attorney General to commence proceedings, adjudicate cases, or execute removal orders,” 8 U.S.C. 1252(g), and
 rather challenges a Determination and Policy made by the Secretary of State, see also Ragbir, 923 F.3d at 63 (noting
 that 1252(g) does not apply to “many other decisions or actions that may be part of the deportation process—such as
 the decisions to open an investigation.” (quoting AADC, 525 U.S. at 482)). Moreover, Section 1252(g) has no
 application to challenges to unlawful detention; rather, courts adjudicate such challenges under traditional First
 Amendment principles. See Bello-Reyes, 985 F.3d at 698. But even if Section 1225(g) applies, Mr. Khalil’s claim for
 individual relief falls under the exception for “outrageous discrimination” for substantially the same reasons the
 Second Circuit identified in Ragbir: he is not in violation of any immigration laws, he is being retaliated against for
 his protected expression, he has a strong interest in avoiding selective detention and deportation, and the government’s
 admission that he was targeted for the views he expressed obviates the need for any sensitive inquiry into the “real”
 reasons for Mr. Khalil’s targeting for removal. See 923 F.3d at 69–73.

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 for the Administration and its policies—whether it comes to tariffs on U.S. allies, the war between

 Russia and Ukraine, or the annexation of Greenland and Canada. Such abuse of the

 Administration‘s removal powers to silence dissent and distort public debate in its favor would

 undermine the entire purpose of the First Amendment.18

         The communicative impact of protected speech on foreign audiences is also not a legitimate

 ground for suppression. The fact that some people find speech uncomfortable, offensive, or

 upsetting does not diminish its protection under the First Amendment. The Supreme Court has

 “said time and again that ‘the public expression of ideas may not be prohibited merely because the

 ideas are themselves offensive to some of their hearers.’” Matal, 582 U.S. at 244 (quoting Street

 v. New York, 394 U.S. 576, 592, (1969)); see also Texas v. Johnson, 491 U.S. 397, 414 (1989) (“If

 there is a bedrock principle underlying the First Amendment, it is that the Government may not

 prohibit the expression of an idea simply because society finds the idea itself hurtful or

 disagreeable.”). Indeed, “a function of free speech under our system of government is to invite

 dispute” and it may “best serve its high purpose when it induces a condition of unrest, creates

 dissatisfaction with conditions as they are, or even stirs people to anger.” Terminiello v. Chicago,

 337 U.S. 1, 4 (1949). The First Amendment therefore protects “even hurtful speech on public

 issues to ensure that we do not stifle public debate.” Snyder, 562 U.S. at 461. This protection

 extends to “vehement, caustic, and sometimes unpleasantly sharp attacks on government and

 public officials.” N.Y. Times, 376 U.S. at 270.

         The First Amendment’s protection for controversial speech applies just as robustly to

 speech that offends foreign audiences, including foreign government officials, as speech that



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   “[W]hen asked if it is only pro-Palestinian protesters who will have their visas revoked, [Secretary] Rubio said
 others’ whose actions threaten the country’s foreign policy interests will be subject to deportation.” See Friedman,
 supra n.10.

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 offends domestic ones. See Boos v. Barry, 485 U.S. 312, 322 (1988) (“[W]e have indicated that in

 public debate our own citizens must tolerate insulting, and even outrageous, speech in order to

 provide ‘adequate ‘breathing space’ to the freedoms protected by the First Amendment’. . . . We

 are not persuaded that the differences between foreign officials and American citizens require us

 to deviate from these principles here.” (quoting Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 56

 (1988))). The First Amendment’s protections for free expression are well-known the world over,

 and foreign audiences are not likely to mistake the government’s constitutionally compelled

 tolerance of dissent for endorsement of the views expressed by dissidents. See Widmar v. Vincent,

 454 U.S. 263, 271 n.10 (1981) (“[B]y creating a forum the University does not thereby endorse or

 promote any of the particular ideas aired there. Undoubtedly many views are advocated in the

 forum with which the University desires no association.”).

    3. The Policy and Determination as to Petitioner are void for vagueness.

        Mr. Khalil is also likely to succeed on his claim that the challenged Policy does not satisfy

 due process because it is void for vagueness. The Policy, including as-applied to Mr. Khalil, does

 not give the proper notice to anyone residing in the country which of their otherwise-lawful speech,

 opinions, beliefs, or advocacy will result in the government targeting them for detention and

 removal, and it provides government officials with unfettered discretion to target disfavored

 speech. Indeed, it is still unclear which exactly of Mr. Khalil’s past statements or expressive

 activity resulted in the Rubio Determination and led to his detention.

        “It is a basic principle of due process that an enactment is void for vagueness if its

 prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). A

 policy can be vague for two independent reasons: if the government fails to “provide the kind of

 notice that will enable ordinary people to understand what conduct it prohibits,” or if it would

 “authorize and even encourage arbitrary and discriminatory enforcement.” City of Chicago v.

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 Morales, 527 U.S. 41, 56 (1999). When acts affecting speech are involved, particularly “rigorous

 adherence to [due process] requirements is necessary to ensure that ambiguity does not chill

 protected speech.” FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253–55 (2012). And the

 requirement for rigorous scrutiny is only heightened where a law or policy carries serious penalties.

 See, e.g., Reno v. ACLU, 521 U.S. 844, 871–72 (1997) (noting that the “severity of criminal

 sanctions may well cause speakers to remain silent rather than communicate even arguably

 unlawful words, ideas, and images.”). Because removal from the United States is “a particularly

 severe penalty,” Lee v. United States, 582 U.S. 357, 370 (2017) (quoting Padilla, 559 U.S. at 365),

 the Policy of deporting noncitizens for pro-Palestine speech must satisfy the most exacting

 vagueness standard. It cannot.

         First, the Policy as stated by the White House, the Secretary of State, and various DHS

 officials is too vague to give noncitizens living in the country fair notice of what speech will cause

 the Administration to arrest, detain, and seek to remove them. Respondent Rubio has stated that

 he plans to apply the Foreign Policy Ground to any “Hamas supporters in America so they can be

 deported.” 19 But he has given no definition of who might qualify as a so-called “Hamas

 supporter” 20 and, based on the facts of this case, it appears that any prominent advocate for

 Palestinians’ dignity and their right to live, and any vocal critic of Israeli or U.S. policy towards

 Palestinians, would fit the description in Respondent Rubio’s view. Moreover, the

 Administration’s various other statements have provided no greater clarity about what constitutes



 19
   @marcorubio, X (Mar. 9, 2025, 6:10 PM), https://perma.cc/6EPU-6WP4.
 20
   Even advocacy explicitly supporting Hamas— a designated foreign terrorist organization that Mr. Khalil neither
 supports nor associates with—would be protected under the First Amendment, so long as it is not coordinated with
 Hamas. See Boim v. Quranic Literacy Inst., 291 F.3d 1000, 1026 (7th Cir. 2002) (explaining that under the material
 support for terrorism statute, individuals “may, with impunity, become members of Hamas, praise Hamas for its use
 of terrorism, and vigorously advocate the goals and philosophies of Hamas”); accord Holder, 561 U.S. at 39 (“[W]e
 in no way suggest that a regulation of independent speech would pass constitutional muster, even if the Government
 were to show that such speech benefits foreign terrorist organizations.”).

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 proscribed “pro-Hamas” speech or beliefs. Indeed, when asked by NPR to provide any specifics

 on what would constitute a deportable offense under the Policy, the Deputy Secretary of DHS

 could give no answer beyond indicating an objection to continued presence of noncitizens who

 seek to engage in “protest.” See Salama Decl., Ex. C.

         Nor is the specific Determination of how the Policy applies to Petitioner any more clear.

 As discussed supra, see Section I.A.1, official statements from DHS merely assert that Mr. Khalil

 “led activities aligned to Hamas,” and in “support” of Hamas, without any clarity on what those

 activities were, or what these terms mean.21

         None of these explanations provide sufficient standards to satisfy due process. The words

 “support” and “alignment” are expansive and highly subjective. Does mere presence at a protest

 in support of Palestinian human rights qualify for the Administration’s definition of support or of

 engaging in protest? Does publicly criticizing the actions of Israel’s military in Gaza amount to

 “alignment” with Hamas because it may overlap with the organization’s ideological opinions?

 What about engaging in scholarship about the history of Palestine?

         Multiple courts have recognized that terms akin to “support” are susceptible to a “wide

 range of meanings depending on context.” United States v. Miselis, 972 F.3d 518, 536 (4th Cir.

 2020) (prohibition on “encourage[ing]” or “promot[ing]” a riot was overbroad) 22; see also United

 States v. Rundo, 990 F.3d 709, 717 (9th Cir. 2021) (same, explaining that “encourage” and

 “promote” could mean “to recommend, advise”), cert denied, 142 S. Ct. 865 (2022); Rosenberger

 515 U.S. at 836 (emphasizing “vast potential reach” of term “promote[]”). Such broad language



 21
    @DHSgov, X (Mar. 9, 2025, 9:29 PM), https://perma.cc/2BYW-9G84; https://perma.cc/6EPU-6WP4; Salama Decl.
 Ex. D, Jake Offenhartz, Immigration Agents Arrest Palestinian Activist Who Helped Lead Columbia University
 Protests, Associated Press (Mar. 9, 2025) https://perma.cc/HPH9-T2SV.
 22
    Because the court found those statutory terms overbroad, it had no occasion to resolve whether they were also
 unconstitutionally vague. Miselis, 972 F.3d at 546.

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 sweeps across a range of constitutionally protected speech and activities, making it impossible for

 individuals to know how penalties will be enforced. See United States v. Loy, 237 F.3d 251, 264–

 65 (3d Cir. 2001) (explaining that where individuals can “hardly be expected to discern, in advance,

 which [speech is] prohibited,” a policy risks “chill[ing] protected conduct” and is therefore

 unconstitutionally vague”).

        In contrast, where courts have rejected vagueness challenges, it is because the elements of

 the challenged policy are clearly defined and so provide adequate ex ante notice for their

 application. In Arriaga v. Mukasey, the Second Circuit rejected a petitioner’s argument that a

 provision of the INA rendering individuals convicted of stalking deportable was vague as applied.

 521 F.3d 219 (2d Cir. 2008). In reaching its decision, the court emphasized that “virtually every

 state” has codified stalking as a criminal offense with distinct elements, incorporating a scienter

 requirement. Id. at 226. The provision of the INA was not vague as applied to the petitioner,

 because he had been convicted of stalking under state law. Id. at 227. In contrast, here, the Policy

 of commencing immigration proceedings against individuals who are “aligned to Hamas” or “pro-

 Hamas” is not tied to any clarifying definitions in the INA, much less in underlying criminal

 statutes with distinct elements, and thus risks chilling (or is actually meant to chill) all manner of

 protected speech and so is void for vagueness.

        Second, the Policy is also unconstitutionally vague for the separate reason that it permits

 arbitrary and discriminatory enforcement and has been arbitrarily and discriminatorily applied to

 Mr. Khalil. That is because the Policy relies on subjective determinations about whether speech is

 sufficiently “pro-Hamas” or “aligned to” Hamas or “sympathetic to” Hamas. The problem of

 subjectivity is exacerbated by the fact that the Policy itself encompasses constitutionally protected

 speech. A law or policy that “reaches ‘a substantial amount of innocent conduct’ confers an



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 impermissible degree of discretion on law enforcement authorities to determine who is subject to

 the law.” Arriaga, 521 F.3d at 228 (quoting Morales, 527 U.S. at 60–61). In the case of the Policy,

 one official might consider constitutionally protected speech in favor of Palestinian rights to be

 “pro-Hamas” while another official might consider the same speech not to be a sufficient basis for

 immigration consequences. This is a far cry from a policy or law for which there are objective

 standards limiting officials’ discretion to commence proceedings. Cf Arriaga, 521 F.3d at 228

 (provision of the INA instructing removal of individuals convicted of stalking provided adequate

 limits on enforcement because it did not enable discretionary application).

         Indeed, “[s]tandards provide the guideposts that check the [official]”; without them, “post

 hoc rationalizations . . . and the use of shifting or illegitimate criteria are far too easy[.]” City of

 Lakewood v. Plain Dealer Publishing Co., 486 U.S. 750, 758 (1988). But the Policy contains no

 objective standards, not even a requirement of scienter, to guide an official in understanding when

 immigration consequences should be triggered by speech. And because the Rubio Determination

 with respect to Mr. Khalil’s speech is similarly standardless, it is also unconstitutionally vague.

  B. Mr. Khalil’s retaliatory detention violates due process and the First Amendment.

         Mr. Khalil is also likely to succeed on his claim that his detention violates his due process

 rights. “[T]he Fifth Amendment entitles noncitizens to due process in removal proceedings,”

 including in detention incident to those proceedings. Black v. Decker, 103 F.4th 133, 143 (2d Cir.

 2024) (citing Reno v. Flores, 507 U.S. 292, 306 (1993)). Immigration detention is civil and must

 “bear[] a reasonable relation to the purpose for which the individual [is] [detained]” so that it

 remains “nonpunitive in purpose and effect.” Zadvydas v. Davis, 533 U.S. 678, 690 (2001)

 (cleaned up). There are only two legitimate purposes for immigration detention: mitigating flight

 risk and preventing danger to the community. See Demore v. Kim, 538 U.S. 510, 531 (2003)


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 (Kennedy, J., concurring); Zadvydas, 533 U.S. at 690; Velasco Lopez v. Decker, 978 F.3d 842, 854

 (2020). Neither purpose is served by Mr. Khalil’s detention.

        Mr. Khalil is not a flight risk. He is married to a U.S. citizen who lives in New York City

 and is pregnant with their first child (who will be born a U.S. citizen). Am. Pet. ¶¶ 1, 3. And he is

 a Lawful Permanent Resident with no criminal history. Id. As such, his detention bears no

 “reasonable relation” to a legitimate government purpose and is unlawful. Zadvydas, 533 U.S. at

 690; see also Faure v. Decker, No. 15-cv-5128, 2015 WL 6143801, at *3 (S.D.N.Y. Oct. 19, 2015)

 (ordering release or a bond hearing where there was “no evidence” that the habeas petitioner “poses

 a danger to the public or would flee during the pendency of the removal proceedings”).

        Not only does the government lack a legitimate purpose in Mr. Khalil’s detention, but it is

 clearly detaining him for patently illegitimate reasons: to punish him for his speech. But civil

 detention cannot be a “mechanism for retribution,” Kansas v. Crane, 534 U.S. 407, 412 (2002)

 (cleaned up), because “[r]etribution and deterrence are not legitimate nonpunitive governmental

 objectives,” Bell v. Wolfish, 441 U.S. 520, 539 n. 20 (1979) (cleaned up). Mr. Khalil’s detention

 in rural Louisiana—thousands of miles away from his attorneys, family, and community, Am. Pet.

 ¶¶ 73–81—is intended as retaliatory punishment for his expressive activity in support of

 Palestinian rights, see City of Houston v. Hill, 482 U.S. 451, 462–63 (1987) (“The freedom of

 individuals verbally to oppose or challenge police action without thereby risking arrest is one of

 the principal characteristics by which we distinguish a free nation from a police state.”). Because

 he is subject to “discretionary detention” pursuant to 8 U.S.C. § 1226(a), Joyce Decl., ECF 32, at

 ¶ 7, ICE may release him during the pendency of proceedings, see Velasco Lopez, 978 F.3d at 848.

 But Respondents have chosen to detain Mr. Khalil to advance their punitive purpose.




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         Further, the government’s statements make clear that it is detaining Mr. Khalil to prevent

 his current and future speech on a matter of great public concern, and to deter other noncitizens

 from doing the same. The government specifically linked its decision to detain Mr. Khalil to his

 expressive activity. President Trump posted that “ICE proudly apprehended and detained” Mr.

 Khalil because of his supposedly “[r]adical” protest activities and warned that “[t]his is the first

 arrest of many to come.” Am. Pet. ¶ 73 (emphasis added). The White House likewise trumpeted

 that Mr. Khalil had been “ARRESTED BY ICE.” Am. Pet. ¶ 74. DHS itself similarly connected

 the fact that ICE had “arrested Mahmoud Khalil” to his supposed “activities aligned to Hamas.”

 Supra n.21.

         This unlawful detention necessarily results in injury to Mr. Khalil. See infra Section II;

 Barker v. Wingo, 407 U.S. 514, 532 (1972) (detention has a “serious” “detrimental impact on the

 individual”); Sessions, 872 F.3d at 994 (unconstitutional detention is irreparable harm). He is being

 detained thousands of miles away from his family and attorneys, in a detention facility known for

 systemic rights violations, including excessive force by guards and sexual assault. 23 See also

 Rauser v. Horn, 241 F.3d 330, 333 (3d Cir. 2001) (finding retaliation where detainee was

 “transferred to a distant prison where his family could not visit him regularly”). His detention is

 sure to result in economic injury as he will be unable to start his new job as scheduled next month,

 and may lose his employment altogether, if not released. Abdalla Decl. ¶¶ 26–27; Am. Pet. ¶ 71.

         Further, Mr. Khalil’s detention is intended to chill his current and future speech. See

 supra Section I.A.1. The government’s detention of Mr. Khalil—in rural Louisiana, to boot,

 away from his university and community—quite literally prevents him from continuing to speak




 23
   ACLU et. al, Inside the Black Hole: Systemic Human Rights Abuses Against Immigrants Detained & Disappeared
 in Louisiana, Aug. 2024, 17; 50–51, available at https://perma.cc/HT6Z-SRCY.

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 in support of Palestinian rights. It also deprives the public of being able to hear from him, and

 chills others—especially noncitizens—from expressing similar views.

 II. PETITIONER FACES IRREPARABLE HARM ABSENT AN INJUNCTION.

        “A showing of irreparable harm is the single most important prerequisite for the issuance

 of a preliminary injunction.” Coscarelli v. ESquared Hosp. LLC, 364 F. Supp. 3d 207, 221–22

 (S.D.N.Y. 2019) (quoting Faiveley Transp. Malmo AB v. Wabtec Corp., 559 F.3d 110, 118 (2d

 Cir. 2009)). There is no question that Mr. Khalil will suffer enormous irreparable harm absent a

 preliminary injunction, including through the violation of his First and Fifth Amendment rights,

 the silencing of his deeply held beliefs, lack of meaningful access to counsel and this Court,

 disruption in his medical care, loss of future employment, separation from his U.S. citizen wife,

 and the prospect of missing the birth of his first child.

        The deprivation of Mr. Khalil’s First and Fifth Amendment rights is itself enough to

 constitute irreparable harm. Even “the alleged violation of a constitutional right . . . triggers a

 finding of irreparable harm.” Jolly v. Coughlin, 76 F.3d 468, 482 (2d Cir. 1996) (emphasis in

 original) (applying this principle to Eighth Amendment and religious freedom claims). And “[i]t

 is well established that the ‘loss of First Amendment freedoms, for even minimal periods of time,

 unquestionably constitutes irreparable injury.’” Kamerling v. Massanari, 295 F.3d 206, 214–15

 (2d Cir. 2002) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). In cases involving specific,

 direct restrictions on speech, “the irreparable nature of the harm may be presumed.” Bronx

 Household of Faith v. Bd. of Educ., 331 F.3d 342, 349 (2d Cir. 2003).

        Here, the very purpose of Mr. Khalil’s arrest, detention and pending removal is to silence,

 restrict, and chill, his protected speech, now and in the future—and to send a message to other

 would-be protesters. In the past, Mr. Khalil has expressed his views on Palestine by helping to



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 organize educational events and lectures, participating in interviews with national and international

 media outlets, and advocacy in international organizations, universities, and other spaces of

 influence. Am. Pet. ¶¶ 23–27. Every day he is confined in an immigration detention facility under

 threat of deportation, Mr. Khalil’s expressive activities are at best severely restricted, if not

 completely extinguished. Through his detention, he is prevented from speaking freely and

 openly—the very retaliatory and punitive harm he is challenging in this litigation.

        In addition to the loss of his First Amendment rights, Mr. Khalil faces irreparable injury to

 his liberty by continued unconstitutional and unlawful detention. “‘Several courts in this circuit

 have,’ quite properly I would add, ‘concluded that the deprivation of an alien’s liberty is, in and

 of itself, irreparable harm.’” Velesaca v. Decker, 458 F. Supp. 3d 224, 240–41 (S.D.N.Y. 2020)

 (quoting Sajous v. Decker, 18-CV-2447, 2018 WL 2357266, at *12 (S.D.N.Y. May 23, 2013));

 see also Rosales-Mireles v. United States, 138 S. Ct. 1897, 1907 (2018) (“Any amount of actual

 jail time is significant[] and has exceptionally severe consequences for the incarcerated individual

 and for society which bears the direct and indirect costs of incarceration.” (alterations, citations,

 and internal quotation marks omitted)).

        Mr. Khalil’s isolation from his eight-months pregnant wife just weeks before the birth of

 their first child, his community, and the start of his employment has resulted in enormous hardship,

 further constituting irreparable harm. See Jimenez v. Napolitano, No. C-12-03558, 2012 WL

 3144026, at *7 (N.D. Cal. Aug. 1, 2012) (finding separation from family members, among other

 things, to constitute irreparable harm); Borjas-Calix v. Sessions, No. 16-CV-685, 2017 WL

 1491629, at *3 (D. Ariz. Apr. 26, 2017) (finding plaintiff in detention would experience irreparable

 harm, including “separation from family and loss of employment”). Mr. Khalil continues to face

 overwhelming emotional distress being unable to see or attend to his eight-months pregnant wife,



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 who herself experiences the painful toll of being forcibly separated from her husband. Mr. Khalil’s

 distress is further exacerbated by the prospect of losing his impending employment and health

 insurance for his wife and expected child mere weeks before birth, and the agony of potentially

 missing the birth of their first child and being unable to support them at such a critical time.

 III. THE EQUITIES WEIGH HEAVILY IN THE PETITIONER’S FAVOR AND A
    PRELMINARY INJUNCTION WILL SERVE THE PUBLIC INTEREST.
        “Where the Government is the opposing party, the final two factors in the temporary

 restraining order analysis—the balance of the equities and the public interest—merge.” Coronel v.

 Decker, 449 F. Supp. 3d 274, 287 (S.D.N.Y. Mar. 27, 2020). Here, the balance of hardships

 overwhelmingly favors Mr. Khalil. He, as well as the greater U.S. population, face enormous

 irreparable injury if an injunction is not granted. Conversely, the government can make no

 plausible claim to harm from an injunction.

        The public interest is “best served by ensuring the constitutional rights of persons within

 the United States are upheld.” Id. (quoting Sajous v. Decker, No. 18-CV-2447, 2018 WL 2357266,

 at *13 (S.D.N.Y. May 23, 2018)); see also L.V.M. v. Lloyd, 318 F. Supp. 3d 601, 620 (S.D.N.Y.

 2018). In L.V.M., the court preliminarily enjoined an unlawful policy that prevented the release of

 immigrant minors in federal custody, and in considering the equities it held that “this Court is hard-

 pressed to see how setting aside [the challenged policy] could be against the public interest,” since

 “[o]bviously, [the government] cannot suffer any harm from an injunction that terminates an

 unlawful practice.” Id. at 620. Here, too, where the strength of the constitutional claims and injuries

 are so paramount, the public interest is served by the relief sought.

        Beyond the public’s interest in ensuring detention is justified, which weighs

 overwhelmingly in favor of granting the requested injunction, courts routinely emphasize that

 “securing First Amendment rights is in the public interest.” New York Progress & Prot. PAC v.

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 Walsh, 733 F.3d 483, 488 (2d Cir. 2013). Where suppression of speech is at issue, the government

 action “harms not only the speaker, but also the public to whom the speech would be directed.”

 Sindicato Puertorriqueno de Trabajadores v. Fortuño, 699 F.3d 1, 15 (1st Cir. 2012). Here, absent

 injunctive relief, the government will continue to unjustifiably chill speech and subject individuals

 to the threat of detention and deportation for exercising their bedrock constitutional rights. The

 public interest weighs heavily in favor of an injunction against the government’s excessively

 retaliatory and unconstitutional aims of suppressing the protected expression of U.S. residents on

 a viewpoint discriminatory basis.

                                               CONCLUSION

         For the foregoing reasons, Petitioner respectfully requests that the Court issue an order that

 (1) preliminarily releases Mr. Khalil; (2) preliminarily enjoins Respondent Rubio’s determination

 that the INA’s “Foreign Policy Ground” applies to him; and (3) preliminarily enjoins Respondents

 from enforcing their Policy of targeting for detention and removal noncitizens who engage in

 constitutionally protected expressive activity in the United States in support of Palestinian rights

 or critical of Israel.



 Dated: March 17, 2025                                  Respectfully submitted,
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